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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

            v.                                              CRIMINAL NO. 18-CR-10263-GAO
DYLAN FONTES
_______________________________
                  Defendant(s).

                           AMENDED PROCEDURAL ORDER
                  RE: SENTENCING HEARING (In the light of U.S. v.Booker.)
O’TOOLE
___________________, D.J.

       A plea of guilty to Count 1 of the Indictment , having been entered on MARCH 7,2019, under the
Sentencing Reform Act of 1984, it is hereby ORDERED:

Pre-sentence Investigation

       1.     a)      The United States Probation Office shall commence immediately the pre-sentence
              investigation unless as provided in Fed. R. Crim. Pro. Rule 32(i), the court finds under Rule
              32 (c) (1)(A) and (B) that the information in the record enables it to exercise its sentencing
              authority meaningfully under 18 U.S.C. § 3553 and the court explains this finding on the
              record.

              b)     The Probation Office shall prepare pre-sentence investigation reports in the order in
              which the requests from the court are received.

Statement of Relevant Facts

       2.     Not later than seven days after the plea or verdict [or on MARCH 14, 2019], the attorney
              for the government shall provide to the United States Probation Office a statement of
              relevant facts and any other documents pertinent under Federal Rules of Criminal Procedure
              32 (d) and shall simultaneously serve on counsel for the defendant a copy of everything
              provided to the Probation Office.

Submission of Information Regarding Identifiable Victims (if applicable)

       3.     Not later than seven days after the plea or verdict (or on MARCH 14, 2019), the attorney
              for the government shall provide to the United States Probation Office a written statement
              setting forth the names of the victims, their contact information/addresses, and the amount
              of loss sustained by each victim/restitution owed to each victim pursuant to the Federal
              Rules of Criminal Procedure, Rule 32(c)(1)(B).
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Interview of Defendant

       4.     The Probation Office shall provide a reasonable opportunity for defense counsel to attend
              any interview of the defendant conducted by a probation officer during the pre-sentence
              investigation.

              a)      If the case is resolved by a plea, and the Probation Office has timely notification of
              the plea, it shall hold an interview with the defendant on the day of the plea. If an interview
              cannot be held on the day of the plea, the Probation Office shall schedule an interview to be
              held within seven days after the plea or within such additional time as the court may order.

              b)     If the case is resolved by a verdict, the Probation Office shall schedule an interview
              with the defendant to be held within seven days after the verdict or within such additional
              period of time as the court may order.

              c)      If the defendant is in custody, the United States Marshal shall, at the request of the
              Probation Office, bring the defendant to the courthouse for an interview at the earliest
              feasible time.

Pretrial Services Responsibility

       5.     Pretrial Services shall provide to the Probation Office all documents in the possession of
              Pretrial Services that may be relevant to the pre-sentence investigation, including a copy of
              the Pretrial Report, the defendant’s state, local, and national criminal record, police reports,
              copies of convictions, drug test results, reports of incidents, and other reports and supporting
              documents.

Date of Sentencing

       6.     The sentencing hearing (and sentencing) is scheduled to occur at 2:00 PM on
              JUNE 11, 2019, in courtroom 22 on the 7th floor. This date is to be not sooner than twelve
              weeks after the date of the plea/verdict, in order to permit the following:

              a)     Probation Office shall have seven weeks after the date of plea/verdict for the
              preparation and disclosure of the initial report.

              b)     Probation Office shall disclose the initial report to defense counsel and government
              counsel no less than five weeks before the sentencing hearing, unless the defendant
              expressly waives the minimum five week pre-sentencing notification period.

              c)      The date when disclosure has been effected to each attorney is the date of the mailing
              of a copy to that attorney. An attorney may, in lieu of receiving disclosure by mail, make
              arrangements with the Probation Office to pick up the report no later than 3:00 p.m. on the
              date disclosure is due. It is the responsibility of the defense counsel to disclose the pre-
              sentence report to the defendant and to discuss it with and explain it to the defendant.



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Objections Procedure

      7.     Within fourteen days after disclosure of the report, attorneys for the government and the
             defendant shall advise the probation officer and each other in writing, of any objections they
             may have as to any material information, sentencing classifications, sentencing guideline
             ranges, or policy statements contained in or omitted from the report.

      8.     The probation officer shall conduct any further investigation and make any revisions to the
             pre-sentence report that may be necessary. The probation officer may require counsel for
             both parties to confer with the probation officer to identify and attempt to resolve any factual
             or legal disputes which may require hearing by the court.

Final Pre-sentence Report

      9.     Not later than JUNE 4 2019 (which is a date not less than seven days before the
             sentencing hearing), the probation officer shall submit to the court and disclose to the
             attorneys the final pre-sentence report, including any addendum, setting forth the unresolved
             objections, the grounds for these objections and the probation officer’s comments on the
             objections. The probation officer shall certify that the contents of the report, including any
             revisions, and the addendum have been disclosed to the defendant and to counsel for the
             defendant and the government, and that the addendum fairly states any remaining unresolved
             objections. Except with regard to any unresolved objections, the report of the pre-sentence
             investigation may be accepted by the court as accurate. The court, however, for good cause
             shown, may allow a new objection to the pre-sentence report to be raised at any time before
             the imposition of sentence.

Hearing and Counsel’s obligations

      10.    The Court is to hold a sentencing hearing to resolve any disputed issues.

             a)     Obligations of Counsel:         Not less than five days before the sentencing hearing
             [or such other time as set by the court]

                     (1)     Notice:         Counsel are to advise the Court:

                             (a)     whether either party will move for a departure from the applicable
                                     guideline range or will move for a non guideline sentence;

                             (b)     whether apart from (a), there are legal questions not adequately
                                     addressed in the presentence report or not addressed at all;

                             (c)    whether there are factual issues which the party contend require an
                                    evidentiary hearing.

                     (2)     Memorandum:           Counsel submit a memorandum outlining the legal and
                             factual issues implicated in (1) above. Counsel are also urged to draft


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                                          memoranda in the form of proposed findings of fact and conclusions of law
                                          relevant to the issues described above.

                             (3)          Service on Probation:        A copy of the memorandum and any
                                          submissions addressing sentencing issues submitted by counsel must also be
                                          provided to the probation officer five days in advance of the sentencing
                                          hearing.

         11.       The schedule set forth in this Order may be modified by the Court for good cause shown.

         12.Disclosure of the pre-sentence report is made under the provisions of Rule 32, Fed. R. Crim.
            Pro., except that the Probation Office shall not disclose any recommendation it made to the
            court as to sentence. Any such recommendation made to the court by the Probation Office
            must not contain factual information not already disclosed to both counsel and to the
            defendant.
MARCH 7, 2019                                      /S/ GEORGE A O’TOOLE, JR
_____________________
DATE                                               UNITED STATES DISTRICT JUDGE



cc:      Counsel
         Probation Office
         Pretrial Services


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